Case 8:23-cv-01333-FWS-JDE      Document 73-2   Filed 04/03/25   Page 1 of 46 Page
                                    ID #:1752


1
     Jerry Girley, Esquire
2    Florida Bar No. 35771
     The Girley Law Firm, PA
3    117 E. Marks Street, Suite A
     Orlando, FL 32803
4    Tel: (407) 540-9866
     Fax: (407) 540-9867
5    phyllis@thegirleylawfirm.com
     Admitted Pro Hac Vice
6
     Jay T. Jambeck (SBN 226018)
7    Mandy G. Leigh (SBN 225748)
     Damien Troutman (SBN 286616)
8    LEIGH LAW GROUP, P.C.
     582 Market St. #905
9    San Francisco, CA 94104
     Tel: 415-399-9155
10   Fax: 415-795-3733
     jjambeck@leighlawgroup.com
11
     Tania L. Whiteleather (SBN 141227)
12   Law Offices of Tania L. Whiteleather
     5445 Del Amo Blvd. #207
13   Lakewood, CA 90712
     Tel: 562-866-8755
14   Fax: 562-866-6875
     tlwhiteleather@juno.com
15
     Attorneys for Plaintiff,
16   JACKLINE MUTHOKA
17
                    IN THE UNITED STATES DISTRICT COURT
18
19                FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
     JACKLINE MUTHOKA,                          Case No: 8:23-CV-01333 FWS
21                                              (JDEX) Assigned to Hon. Judge
     Plaintiff,                                 Fred W. Slaughter
22                                              (Complaint filed on July 24, 2023)
     v.
23                                              PLAINTIFF’S SEPARATE
24   THE REGENTS OF THE                         STATEMENT OF GENUINE
     UNIVERSITY                                 DISPUTED FACTS
25   OF CALIFORNIA,
                                                Date: April 24, 2025
26   Defendant.                                 Time: 10:00 AM
                                                Place: 10D
27
28
                                   1
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE         Document 73-2   Filed 04/03/25   Page 2 of 46 Page
                                       ID #:1753


1           Pursuant to Central District of California Local Rule 56-1, Plaintiff Jackline
2    Muthoka hereby submits the following Separate Statement of Genuine Disputed
3    Facts and supporting evidence in opposition to Defendant’s Motion for Summary
4    Judgment, or, in the Alternative, Partial Summary Judgment.
5      SEPARATE STATEMENT OF DISPUTED FACTS AND SUPPORTING
6                                         EVIDENCE
7                                                        Opposing Party’s Response to
                 Moving Party’s Uncontroverted
                                                            Cited Fact and Supporting
8                Facts and Supporting Evidence
                                                                    Evidence
9      1.     UCI SOM admits 3.9% of applicants,         1. Undisputed.
              with a median MCAT score of 516, and
10
              a median undergraduate GPA of 3.89
11
12            Declaration of Dr. Megan Osborn
              (“Osborn Decl.”), ¶ 3.
13
14     2.     UCI SOM has established educational        2. Undisputed.
              objectives applicable to all students.
15
16            Osborn Decl., ¶ 4.

17     3.     UCI SOM requires students to achieve       3. Undisputed.
18            passing grades for all courses in the
              MD curriculum.
19
20            Osborn Decl., ¶ 4.

21     4.     UCI SOM requires students to pass the 4. Undisputed.
22            United Stated Medical Licensing Exam
              (“USMLE”) Step 1 and Step 2CK
23            administered by the National Board of
24            Medical Examiners (“NBME”).
25            Osborn Decl., ¶ 4.
26
27
28
                                   2
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2   Filed 04/03/25   Page 3 of 46 Page
                                     ID #:1754


1                                                     Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                 Evidence
3     5.    UCI SOM requires students to pass the     5. Undisputed.
            Clinical Performance Examination
4
            (“CPX”).
5
6           Osborn Decl., ¶ 4.
      6.    The failure to pass USMLE Step 1 or   6. Undisputed.
7           Step 2CK precludes graduation without
8           exception.

9           Osborn Decl., ¶ 5.
10    7.    Students have a maximum of six            7. Disputed. The time to
            academic years to complete their MD.      complete the program is
11                                                    extended by any approved leave
12          Osborn Decl., ¶ 5.                        of absence.

13                                                    Muthoka Decl. at Ex. T.
14   8.     Students are considered in “good          8. Undisputed.
            standing” if they have no unremediated
15          course or clerkship failure, timely
16          completed Step 1 and Step 2CK, and
            are not under any formal disciplinary
17          review by the Committee for
18          Promotions & Honors (“P&H”).
19          Osborn Decl., ¶ 6.
20    9.    Students may be referred to P&H for        9. Undisputed.
            several reasons, including, (1) two
21          clerkship failures, (2) failure to pass
22          Step 1 within one year of the student’s
            last day of their second year, (3) failure
23          to pass Step 2CK by the deadlines in
24          the UCI SOM Exam Administration
            and Procedures Policy, (4) two failed
25          attempts at Step 1 or Step 2CK.
26
            Osborn Decl., ¶ 7.
27
28
                                  3
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2    Filed 04/03/25   Page 4 of 46 Page
                                  ID #:1755


1                                                    Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                       Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                Evidence
3     10.   All students receive these policies upon 10. Undisputed.
            matriculation at UCI SOM and they are
4
            accessible on the school’s website.
5
6           Declaration of Alison M. Bernal
            (“Bernal Decl.”), Ex. 3 (University of
7           California, Irvine, School of Medicine
8           Student Handbook, compiled January
            27, 2017, and produced as part of
9           “Exhibit A” in Plaintiff’s initial
10          document disclosure (bates numbers
            PL 00129-00316));
11          Osborn Decl., ¶ 8.
12    11.   Plaintiff’s MCAT scores and
            undergraduate GPA did not qualify her   11. Disputed: Plaintiff
13          for admission to UCI SOM.               completed a postbaccalaureate
14                                                  program and Conditional
            Bernal Decl., Ex. 2, ¶ 17 (Declaration  program (in addition to her
15          of Jackline Muthoka in Support of       Bachelor’s degree) at UCI and
16          Plaintiff’s Application for a Temporary achieved a more than the
            Restraining Order and Order to Show     average GPA for her 2016 class.
17          Cause Why a Preliminary Injunction      Additionally, her MCAT scores
18          Should Not Issue, Case No. 8:20-CV-     were not reflective of her
            01072-JLS-KES); Ex. 4, at PL 02868 ( abilities as she was not provided
19          Plaintiff’s Review of OEOD Draft        reasonable accommodations and
20          Investigation Report and Evidence,      was not tested despite being at
            dated December 8, 2020, and produced UCI for both programs and
21          as “Exhibit K” in Plaintiff’s initial   informing the school.
22          document disclosure (bates numbers
            PL 02865-02891).                        Muthoka Decl. at ¶44.
23
24    12.   Plaintiff was admitted to UCI SOM        12. Disputed: Muthoka Decl. at
            through a conditional program offered    Ex. N, pg. 8.
25          to students who did not meet the
26          standard metrics for medical school
            admission.
27
28
                                  4
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE     Document 73-2      Filed 04/03/25   Page 5 of 46 Page
                                   ID #:1756


1                                                       Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                 Evidence
3           Bernal Decl., Ex. 2, ¶ 3;
            Bernal Decl., Ex. 4 at PL 02868;
4
            Osborn Decl., ¶ 9.
5     13.   Plaintiff’s grades and test scores still   13. Disputed: Objection to
6           put her on the cusp of not getting into    statement at Osborn Decl. ¶10
            the school even after she was admitted     which contains hearsay without
7           to the conditional program, but a UCI      an exception that a colleague
8           SOM employee successfully lobbied          advocated for Plaintiff. FRE
            for Plaintiff’s admission.                 801, 802.
9
10          Bernal Decl., Ex. 2, Pages 110-111;
            Osborn Decl., ¶ 10.
11
12    14.   Plaintiff matriculated at UCI SOM in       14. Undisputed.
            2016.
13
14          Bernal Decl., Ex. 2, ¶ 4;
            Osborn Decl., ¶ 10.
15    15.   Plaintiff met with a wellness officer at   15. Undisputed.
16          UCI SOM in February 2017.
17          Henderson Decl., ¶ 2.
18
      16.   Plaintiff requested the wellness officer   16. Disputed: The plaintiff
19          send a form to UCI’s Disability            requested the wellness officer to
20          Services Center requesting testing         submit her documentation to
            accommodations for Plaintiff.              DSC.
21
22          Henderson Decl., ¶ 2                       Muthoka Decl. at ¶45.
      17.   After the Disability Services Center       17. Disputed: The wellness
23          received this form from Plaintiff in       submitted Plaintiff’s paperwork
24          February 2017, the Disability Services     to the DSC, not the plaintiff.
            Center sent a letter to UCI SOM stating    The plaintiff only requested a
25          that Plaintiff was eligible to receive     verification form to be sent
26          accommodations in the form of time         specifically to Dr. Jullianne
            and a half on all tests.                   Toohey to stop the “Language
27                                                     issue” labeling by Dr. Toohey.
28
                                  5
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2       Filed 04/03/25   Page 6 of 46 Page
                                  ID #:1757


1                                                      Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                        Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                Evidence
3           Henderson Decl., ¶ 3;                      Muthoka Decl. at ¶¶9, 45.
            Henderson Decl., Ex. 2
4
5     18.   After UCI SOM received the letter          18. Disputed. The Henderson
6           from the Disability Services Center        declaration does not state that
            stating Plaintiff was eligible for         Plaintiff always received her
7           accommodations, Plaintiff received         accommodations only that she
8           time and a half on all examinations at     was approved for
            the medical-school level by UCI SOM        accommodations.
9           (meaning those examinations that are
10          not administered by third-party test
            providers).
11
12          Henderson Decl., ¶ 4;

13    19.   Plaintiff passed her coursework in her   19. Undisputed.
14          first year and second year, with courses
            ending March 2018 prior to a
15          seven-week study period culminating
16          in taking the USMLE Step 1 exam .

17          Bernal Decl., Ex. 2, Pages 110-111;
18          Osborn Decl., ¶ 14.
      20.   UCI SOM does not administer or             20. Disputed: Muthoka Decl. at
19          control the USMLE Step and shelf           ¶46.
20          examinations.
21          Osborn Decl., ¶ 11.
22
      21.   The NBME administers and controls          21. Disputed: Muthoka Decl. at
23          the USMLE Step and shelf                   ¶46.
24          examinations.
25          Osborn Decl., ¶ 11;
26          Henderson Decl., ¶ 6
27
28
                                  6
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2       Filed 04/03/25   Page 7 of 46 Page
                                  ID #:1758


1                                                      Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                          Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                  Evidence
3     22.   The NBME decides whether students          22. Disputed: Muthoka Decl.
            receive testing accommodations on          at ¶46.
4
            Step and shelf examinations.
5
6           Osborn Decl., ¶ 11.

7     23.   The student is responsible for applying      23. Disputed in that UCI assists
            for accommodations with the NBME.                students with applying for
8                                                            accommodations and told
                                                             Plaintiff that requests
9           Osborn Decl., ¶ 11.                              should include testing at the
                                                             disability center and then
10                                                           submission by the disability
                                                             center to NBME.
11
                                                       Muthoka Decl. at ¶6-8, Ex. B.
12    24.   The University or Disability Services      24. Disputed in that Dr. Toohey
13          can communicate with NBME for              claimed she had extensive
            general information but cannot discuss     discussions with NBME about
14          student specific requests.                 Plaintiff’s language issues not
15                                                     being a disabling condition.
            Henderson Decl., ¶ 6
16                                                     Muthoka Decl. at ¶16, Ex. G.
17   25.    The NBME communicate with the              25. Disputed in that Dr. Toohey
            student directly.                          claimed she had extensive
18
                                                       discussions with NBME about
19          Henderson Decl., ¶ 6                       Plaintiff’s language issues not
                                                       being a disabling condition.
20
21                                                     Muthoka Decl. at ¶16, Ex. G.
     26.    Plaintiff applied for accommodations       26. Disputed to the extent that
22
            with the NBME in 2017.                     the disability center assisted
23                                                     Plaintiff with the application.
24          Henderson Decl., ¶¶ 7–8
                                                       Muthoka Decl. at ¶¶6,11.
25   27.    The NBME denied Plaintiff                  27. Disputed in that Dr. Toohey
26          accommodations because                     claimed she had extensive
            “experiencing anxiety during a high        discussions with NBME about
27          stakes test is not evidence of a
28
                                  7
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2     Filed 04/03/25   Page 8 of 46 Page
                                  ID #:1759


1                                                       Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                          Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                                     Evidence
3           disability or a substantial limitation in a Plaintiff’s language issues not
            major life activity.”                       being a disabling condition.
4
5           Henderson Decl., ¶ 8                      Muthoka Decl. at ¶16, Ex. G.
6    28.    On May 7, 2018, Plaintiff took the        28. Undisputed – taken without
            USMLE Step 1 exam for the first time      accommodation. Muthoka Decl.
7           and failed.                               at ¶16, Ex. G.
8
            Bernal Decl., Ex. 2, ¶ 9; Ex. 4, at PL
9           02888; Ex. 5, at PL 01700, 01745 (UCI
10          SOM’s investigative report regarding
            Plaintiff by Dr. Donald Forthal, dated
11          September 30, 2019, and produced as
12          “Exhibit B” in Plaintiff’s initial
            document disclosure (bates numbers
13          PL 01692-01745));
14          Osborn Decl., ¶ 15.

15   29.    On July 12, 2018, Plaintiff took the      29. Disputed to the extent that
16          Surgery shelf examination and failed.     Dr. Toohey interfered with
                                                      Plaintiff’s course of study during
17          Osborn Decl., ¶ 16.                       the summer of 2018 including
18                                                    continuing to claim that she
                                                      suffered from language issues,
19                                                    lying about contacting NBME
20                                                    and placing undue burdens on
                                                      Plaintiff.
21
22                                                     Muthoka Decl. at ¶16, Ex. G,
                                                     ¶17, ¶18.
23   30.    From July 16, 2018, through November 30. Disputed: Plaintiff was on
24          4, 2018, Plaintiff was on administrative administrative leave because of
            leave from UCI SOM because of her        issues created by Dr. Julianne
25          Step 1 failure, per school policy.       Toohey and the Disability
26                                                   Services Center that led her to
            Osborn Decl., ¶ 17.                      fail the USMLE step 1 exam.
27
28
                                  8
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2     Filed 04/03/25   Page 9 of 46 Page
                                  ID #:1760


1                                                     Opposing Party’s Response to
              Moving Party’s Uncontroverted
                                                       Cited Fact and Supporting
2             Facts and Supporting Evidence
                                                               Evidence
3
4    31.    On October 30, 2018, Plaintiff took the 31. Plaintiff re-took the
            USMLE Step 1 examination for a          examination without
5           second time and failed again.           accommodation due to
6                                                   misrepresentations by Dr.
            Bernal Decl., Ex. 2, ¶ 10; Ex. 4, at PL Toohey along with Dr. Toohey’s
7           02888; Ex. 5, at PL 01700, 01745;       interference with Plaintiff’s
8           Osborn Decl., ¶ 18.                     studies and test preparation in
                                                    the summer and fall of 2018.
9
10                                                    Muthoka Decl. at ¶16, Ex. G,
                                                      ¶17, ¶18.
11   32.    From December 3, 2018, through            32. Disputed to the extent that
12          December 6, 2020, Plaintiff was on        Covid-19 also occurred during
            administrative leave for her two Step 1   this time period and impacted
13          failures.                                 timing.
14
            Bernal Decl., Ex. 5, at PL 01700;
15          Osborn Decl., ¶ 19.
16   33.    In December 2018, after being placed      33. Disputed.
            on administrative leave a second time,
17          the UCI housing office communicated       Muthoka Decl. at ¶48.
18          to Plaintiff that she would need to
            re-enroll at UCI SOM to continue
19          living in university housing.
20
            Bernal Decl., Ex. 6, at PL 01751
21          (Plaintiff’s response letter to Dr.
22          Donald Forthal’s investigative report,
            undated, and produced as part of
23          “Exhibit C” in Plaintiff’s initial
24          document disclosure (bates numbers
            PL 01747-01763));
25          Osborn Decl., ¶ 20.
26
27
28
                                  9
      PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                   MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25     Page 10 of 46 Page
                                   ID #:1761


 1                                                   Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                      Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                              Evidence
 3
 4   34.    On January 25, 2019, UCI re-sent         34. Undisputed.
            Plaintiff the Notice of USMLE
 5          Policies.
 6
 7          Bernal Decl., Ex. 7, at PL 02784-02785
 8          (Email from Dr. Megan Osborn to
            Plaintiff regarding United Stated
 9          Medical Licensing Exam (“USMLE”)
10          testing policies, dated January 24,
            2019, and produced as part of “Exhibit
11          G” in Plaintiff’s initial document
12          disclosure (bates numbers PL 02784-
            02785));
13          Osborn Decl., ¶ 21.
14
15   35.    UCI reiterated to Plaintiff that she     35. Undisputed.
16          needed to pass Step 1 by March 15,
            2019, to avoid academic probation, or
17          by March 15, 2020, to avoid dismissal.
18
            Bernal Decl., Ex. 7, at PL 02784-
19          02785;
20          Osborn Decl., ¶ 21.
21   36.                                             36. Disputed to the extent this
22          Plaintiff did not take Step 1 by March   was due to the delays caused by
            15, 2019.                                the interference of Dr. Toohey
23                                                   emphasizing Plaintiff’s language
24          Bernal Decl., Ex. 8, at PL 02445         issues.
            (Plaintiff’s Office of Equal Opportunity
25          and Diversity complaint form, dated      Muthoka Decl. at ¶16, Ex. G,
26          May 26, 2020, and produced as part of ¶17.
            “Exhibit G” in Plaintiff’s initial
27
28
                                  10
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE     Document 73-2 Filed 04/03/25       Page 11 of 46 Page
                                    ID #:1762


 1                                                      Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                 Evidence
 3          document disclosure (bates numbers
            PL 02432-02452));
 4
            Osborn Decl., ¶ 22.
 5
 6
 7
 8
 9
10   37.    On March 21, 2019, UCI housing sent         37. Undisputed.
            Plaintiff notice she needed to vacate by
11          April 30, 2019.
12
            Osborn Decl., ¶ 22.
13   38.    Dr. Julianne Toohey of UCI SOM sent         38. Disputed.
14          a letter to the housing office in support
            of Plaintiff, requesting an extension of    Muthoka Decl. at ¶¶49, 61.
15          the housing deadline.
16
            Bernal Decl., Ex. 9, at PL 01784
17          (Plaintiff’s addendum to her letter to
18          UCI SOM’s Committee for Promotions
            & Honors, dated October 11th, 2019,
19          and produced as part of “Exhibit G” in
20          Plaintiff’s initial document disclosure
            (bates numbers PL 01779-01789));
21          Osborn Decl., ¶ 23.
22   39.    The UCI housing office approved the     39. Disputed to the extent
            extension to March 31, 2019.            Plaintiff was not seeking an
23                                                  extension but needed housing.
24          Osborn Decl., ¶ 23.
                                                    Muthoka Decl. at ¶50.
25   40.    In May 2019, Plaintiff appealed her     40. Undisputed.
26          denial of accommodations to the
            NBME, seeking: 50% additional
27
28
                                  11
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25        Page 12 of 46 Page
                                   ID #:1763


 1                                                      Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                 Evidence
 3          testing time, a separate room, and
            additional break time.
 4
 5          Bernal Decl., Ex. 4, at PL 02888;
 6          Osborn Decl., ¶ 24
     41.    The NBME provided Plaintiff with a        41. Undisputed.
 7          separate room and additional break
 8          time, but did not agree to the additional
            testing time.
 9
10          Bernal Decl., Ex. 4, at PL 02888;
            Osborn Decl., ¶ 24.
11   42.    On July 12, 2019, UCI SOM notified          42. Disputed.
12          Plaintiff that, because she had not
            retaken the surgery shelf exam within       Muthoka Decl. at ¶51.
13          one year of the deadline, her grade
14          would be changed from “incomplete”
            to “fail.”
15
16          Bernal Decl., Ex. 5, at PL 01695,
            01700, 01745;
17          Osborn Decl., ¶ 25.
18   43.    Due to Plaintiff’s academic probation       43. Undisputed it was received
            and failure to pass her surgery             but disputed as to reasons for the
19          clerkship, Plaintiff received notice on     failure and as to probation.
20          September 30, 2019, that she would
            need to appear at a hearing before the      Muthoka Decl. at ¶¶16, 17, 52.
21          P&H Committee.
22
            Bernal Decl., Ex. 5, at PL 01692;
23          Osborn Decl., ¶ 26.
24   44.    While waiting for her P&H hearing           44. Disputed to the extent that
            date, Plaintiff requested an extension to   the plaintiff was requesting an
25          complete her pediatric clerkship, which     extension to complete the
26          the University granted.                     pediatric clerkship because of
                                                        the issues created by Dr.
27          Osborn Decl., ¶ 26.
28
                                  12
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25       Page 13 of 46 Page
                                   ID #:1764


 1                                                      Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                   Evidence
 3                                                     Julianne Toohey and Disability
                                                       services center.
 4
 5                                                   Muthoka Decl. at ¶¶16, 17.
 6   45.    The Disability Services Center           45. Disputed to the extent that
            supported Plaintiff by helping her write the Disability Services Center
 7          an appeal of the NBME’s denial of her did this as a matter of course.
 8          accommodations in 2019.
            Henderson Decl., ¶ 10.                   Muthoka Decl. at ¶6.
 9
10   46.    Plaintiff’s P&H hearing was held on
            March 9, 2020.                             46. Undisputed.
11
12          Bernal Decl., Ex. 10, at PL 01764-
            01765 (UCI SOM’s Promotions and
13          Honors Hearing Decision regarding
14          Plaintiff by Dr. Donald Forthal, dated
            March 16, 2020, and produced as part
15          of “Exhibit C” in Plaintiff’s initial
16          document disclosure (bates numbers
            PL 01764-01765));
17          Osborn Decl., ¶ 27.
18   47.    Plaintiff was eligible for dismissal due   47. Undisputed.
            to her failure to pass the USMLE Step
19          1 within two years.
20
            Osborn Decl., ¶ 27.
21
22
23
24   48.    P&H committee offered Plaintiff an         48. Disputed as to the reasons
            additional chance by placing her on        the extensions were provided.
25          academic probation, giving her a
26          deadline to take the USMLE Step 1 by       Muthoka Decl. at ¶¶16, 17.
            May 3, 2020, granting an extension on
27          her surgery shelf exam to March 9,
28
                                  13
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25       Page 14 of 46 Page
                                   ID #:1765


 1                                                      Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                 Evidence
 3          2021 (with a grade change from fail to
            incomplete), and a deadline to
 4
            complete her pediatrics rotation by
 5          November 20, 2020.
 6
            Osborn Decl., ¶ 27.
 7   49.    In June 2020, Plaintiff sued the NBME       49. Undisputed.
 8          for disability discrimination.

 9          Osborn Decl., ¶ 28.
10
     50.    Plaintiff sought an injunction requiring    50. Undisputed.
11          the NBME to allow her 50% additional
12          time on the Step 1 examination.

13          Osborn Decl., ¶ 28.
14   51.    The NBME resolved the lawsuit by            51. Undisputed.
            allowing Plaintiff the additional testing
15          time.
16
            Osborn Decl., ¶ 28.
17   52.    Plaintiff took Step 1 on October 12,        52. Undisputed.
18          2020, and passed on this third attempt.
19          Bernal Decl., Ex. 4, at PL 02889;
20          Osborn Decl., ¶ 29.
     53.    After passing Step 1, Plaintiff resumed     53. Undisputed.
21          her clerkships and completed her
22          pediatrics clerkship on December 27,
            2020.
23
24          Osborn Decl., ¶ 30.
     54.    Plaintiff did not pass the pediatrics   54. Disputed because of issues
25          shelf examination, placing her back on created by Dr. Toohey.
26          administrative leave for two incomplete
            clerkships (surgery and pediatrics).    Muthoka Decl. at ¶¶16, 17, 53.
27
28
                                  14
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE     Document 73-2 Filed 04/03/25      Page 15 of 46 Page
                                    ID #:1766


 1                                                     Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                        Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                Evidence
 3          Osborn Decl., ¶ 30.
 4   55.    Plaintiff was on administrative leave      55. Undisputed.
            from January 26, 2021, through March
 5          21, 2021.
 6
            Osborn Decl., ¶ 30.
 7   56.    Plaintiff requested an extension to        56. Undisputed.
 8          complete the pediatric and surgery
            clerkship, which the P&H committee
 9          approved through March 9, 2021.
10
            Osborn Decl., ¶ 31.
11
12   57.    On March 4, 2021, Plaintiff requested a 57. Undisputed.
            further extension, which the committee
13          approved through March 12, 2021,
14          while also reminding Plaintiff of the
            six-year deadline for curriculum
15          completion.
16
            Osborn Decl., ¶ 31.
17
18   58.    On March 8, 2021, Plaintiff requested      58. Disputed that Plaintiff was
            another extension on the surgery shelf     unprepared. Her extensions were
19          exam, saying she was not prepared.         due to dealing with the
20                                                     circumstances created by UCI.
            Osborn Decl., ¶ 31.
21                                                     Muthoka Decl. at ¶53.
22   59.    The P&H Committee denied the               59. Undisputed.
            request.
23
24          Osborn Decl., ¶ 31.
     60.    Plaintiff did not take the surgery shelf   60. Disputed.
25          by the deadline and took it instead on
26          March 19, 2021.                            Muthoka Decl. at ¶54.
27
            Osborn Decl., ¶ 32.
28
                                  15
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE     Document 73-2 Filed 04/03/25       Page 16 of 46 Page
                                    ID #:1767


 1                                                      Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                         Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                 Evidence
 3
 4   61.    Plaintiff failed the surgery shelf a
            second time, resulting in a final failing   61. Undisputed.
 5          grade in the surgery rotation.
 6
            Bernal Decl., Ex. 11, at PL 03131
 7          (Email between Plaintiff and Dr.
 8          Shannon Toohey, dated September 20,
            2021, and produced as part of “Exhibit
 9          U” in Plaintiff’s initial document
10          disclosure (bates numbers PL 03128-
            03131));
11          Osborn Decl., ¶ 32.
12   62.    On March 30, 2021, Plaintiff requested 62. Undisputed.
            an extension on her six-year graduation
13          timeline.
14
            Bernal Decl., Ex. 11, at PL 03130;
15          Osborn Decl., ¶ 33.
16   63.    The P&H Committee agreed to adjust          63. Disputed. The P&H
            Plaintiff’s six-year timeline due to the    committee did not properly
17          COVID-19 pandemic.                          calculate the six year timeline.
18
            Bernal Decl., Ex. 11, at PL 03129-          Muthoka Decl. at Ex. U Bates
19          03130;                                      3128.
20          Osborn Decl., ¶ 33.
     64.    On June 1, 2021, Plaintiff received         64. Undisputed.
21          notice she did not pass her internal
22          medicine NBME shelf examination.
23          Osborn Decl., ¶ 34.
24   65.    On July 19, 2021, Plaintiff received        65. Undisputed.
            notice she did not pass neurology
25          NBME shelf examination, and that she
26          was placed on administrative leave for
            two incomplete clerkships.
27
28
                                  16
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25      Page 17 of 46 Page
                                   ID #:1768


 1                                                    Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                       Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                               Evidence
 3          Osborn Decl., ¶ 35.
 4   66.    Plaintiff retook both exams and passed    66. Undisputed.
            the second time, with her
 5          administrative leave ending on
 6          September 27, 2021.

 7          Osborn Decl., ¶ 35
 8   67.    On January 31, 2022, Plaintiff            67. Undisputed.
            requested an extension through
 9          December 1, 2022, for her Step 2
10          examination.

11          Osborn Decl., ¶ 36.
12   68.    The P&H Committee reminded                68. Disputed.
            Plaintiff of her modified 6-year
13          deadline and stated that she had to       Muthoka Decl. at ¶55.
14          complete her Step 2 by November 6,
            2022.
15
16          Osborn Decl., ¶ 36.
     69.    Plaintiff’s technical six-year deadline   69. Disputed.
17          by which she was required to graduate
18          was May 22, 2022.                         Muthoka Decl. at ¶54-56, Ex. U
                                                      at Bates 3128.
19          Bernal Decl., Ex. 12, at PL 03137-
20          03140 (Email between Plaintiff and Dr.
            Shannon Toohey, dated July 26, 2022,
21          and produced as part of “Exhibit U” in
22          Plaintiff’s initial document disclosure
            (bates numbers PL 03137-03140);
23          Osborn Decl., ¶ 37.
24   70.    Plaintiff did not complete her          70. Disputed.
            coursework and was eligible for
25          dismissal at this point.                Muthoka Decl. at ¶54-56, Ex. U.
26
            Bernal Decl., Ex. 12, at PL 03137-
27          03140;
28
                                  17
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25       Page 18 of 46 Page
                                   ID #:1769


 1                                                     Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                        Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                Evidence
 3          Osborn Decl., ¶ 37.
 4   71.    UCI SOM did not dismiss Plaintiff.         71. Undisputed.

 5          Bernal Decl., Ex. 12, at PL 03137-
 6          03140;
            Osborn Decl., ¶ 37.
 7
 8   72.    Instead of dismissing Plaintiff, the       72. Disputed.
            Committee provided Plaintiff a six-
 9          month extension to December 18,            Muthoka Decl. at ¶55, Ex. U.
10          2022.

11          Bernal Decl., Ex. 12, at PL 03137-
12          03140; Osborn Decl., ¶ 37.

13   73.    Plaintiff responded to the P&H             73. Disputed.
14          Committee on October 13, 2022,
            stating she disagreed with this deadline   Muthoka Decl. at ¶¶16, 17, 55,
15          and that she expected four additional      Ex. G, U.
16          months.
17          Osborn Decl., ¶ 38.
18   74.    The Committee provided additional          74. Undisputed.
            time to January 18, 2023.
19
20          Osborn Decl., ¶ 38.
     75.    Plaintiff took the Step 2CK                75. Undisputed.
21          examination on December 12, 2023,
22          with the accommodations the NBME
            had to provide following Plaintiff’s
23          lawsuit, and she failed.
24
            Osborn Decl., ¶ 39.
25   76.    Plaintiff took the Step 2 CK exam for      76. Undisputed.
26          the second time on April 3, 2023, and
            passed.
27
28
                                  18
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE     Document 73-2 Filed 04/03/25      Page 19 of 46 Page
                                    ID #:1770


 1                                                     Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                        Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                                Evidence
 3          Osborn Decl., ¶ 40.
 4   77.    Because Plaintiff retook the Step 2CK 77. Disputed.
            exam so close in time to graduation,
 5          she found out after others in the         Muthoka Decl. at ¶59.
 6          graduating class that she was eligible to
            graduate.
 7
 8          Osborn Decl., ¶ 41.
     78.    This resulted in Plaintiff having a        78. Disputed.
 9          handwritten graduation card versus
10          other students, who had fulfilled the      Muthoka Decl. at ¶¶59.
            graduation requirements much earlier,
11          having a typed graduation card.
12
            Osborn Decl., ¶ 41.
13   79.    Plaintiff graduated from UCI SOM in        79. Undisputed.
14          June 2023.

15          Osborn Decl., ¶ 42.
16   80.    Plaintiff contends she was                 80. Disputed in Part. The
            discriminated against on the basis of      Complaint also alleges a hostile
17          race on a disparate treatment theory.      educational environment.
18
            Bernal Decl., Ex. 1 (Plaintiff’s
19          Responses to Interrogatories (Second
20          Set) dated December 20, 2024
            [hereinafter, “Plaintiff’s Responses”]),
21          No. 4.
22   81.    She does not contend UCI SOM               81. Undisputed.
            violated Title VI under a disparate
23          impact theory.
24
            Bernal Decl., Ex. 1, at Plaintiff’s
25          Responses, No. 3.
26   82.    Plaintiff planned an international         82. Undisputed.
            ultrasound trip to Kenya for the
27
            summer of 2017.
28
                                  19
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE    Document 73-2 Filed 04/03/25      Page 20 of 46 Page
                                   ID #:1771


 1                                                    Opposing Party’s Response to
               Moving Party’s Uncontroverted
                                                       Cited Fact and Supporting
 2             Facts and Supporting Evidence
                                                               Evidence
 3
            Osborn Decl., ¶ 12;
 4
            Bernal Decl., Ex. 1, at Plaintiff’s
 5          Responses, No. 15.
 6   83.    UCI SOM notified Plaintiff that UCI       83. Undisputed.
            SOM could not sponsor the trip
 7          because Kenya was subject to a travel
 8          advisory issued by the United States
            Department of State.
 9
10          Bernal Decl., Ex. 6, at PL 01761;
            Osborn Decl., ¶ 12.
11   84.    UCI SOM has never sponsored an           84. Disputed.
12          international trip to a location with an
            active travel advisory because of safety Muthoka Decl. at ¶60 & Ex. N
13          and liability concerns.                  at page 29, witness 22;
14                                                   Plaintiff’s Request for Judicial
            Osborn Decl., ¶ 12.                      Notice at ¶3.
15   85.    Plaintiff contends that UCI SOM’s        85. Undisputed.
16          refusal to sponsor the Kenya trip
            constituted racial discrimination, as
17          non-black students were allowed to
18          take sponsored international trips.
19          Osborn Decl., ¶ 13.
20   86.    The other trips were not to countries     86. Disputed.
            subject to a travel advisory.
21                                                    Muthoka Decl. at ¶60; RJN at
22          Osborn Decl., ¶¶ 12–13.                   ¶3.
     87.    Plaintiff filed a complaint with UCI’s    87. Undisputed.
23          Office of Equal Opportunity and
24          Diversity (“OEOD”) in May 2020.
25          Bernal Decl., Ex. 8.
26   88.    The complaint identified two              88. Disputed to the extent the
            purportedly racially discriminatory       complaint also set forth national
27
            events: UCI SOM not sponsoring
28
                                  20
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25     Page 21 of 46 Page
                                     ID #:1772


 1                                                      Opposing Party’s Response to
                Moving Party’s Uncontroverted
                                                          Cited Fact and Supporting
 2              Facts and Supporting Evidence
                                                                     Evidence
 3           Plaintiff’s trip to Kenya in 2016-2017     origin discrimination and
             and Dr. Julianne Toohey purportedly        disability discrimination.
 4
             telling Plaintiff in April 2019 that she
 5           should go back to her country.             (Muthoka Decl. at Ex. M)
 6
             Bernal Decl., Ex. 8, at PL 02436-2440.
 7   89.     The OEOD office interviewed 27             89. Undisputed.
 8           witnesses before issuing its findings on
             January 25, 2021.
 9
10           Bernal Decl., Ex 13 at Regents 000279
             through 332
11   90.     Plaintiff responded to interrogatories in 90. Undisputed.
12           this litigation by listing each discrete
             incident which she alleges constituted
13           racial discrimination, as follows:
14           ** note for ease of reading, the
             following table containing Plaintiff’s
15           response is reproduced below this
16           table, and constitutes part of DF 90.**

17           Bernal Decl., Ex. 1, Plaintiff’s
18           Responses, No. 5.

19
     DF 90: Table from Plaintiff’s Interrogatory Responses:
20
                     Alleged Discriminatory Act                            Dates
21
     Dr. Toohey stated that my natural hair was “unprofessional” August 2016
22   and that I needed to straighten it to be considered professional. September 2016
23                                                                  January-March
24                                                                  2017
25                                                                  March-July 2018
26   The defendant through Dr. Toohey denied me funding and August/September
     IRB support for my work in Kenya, but fully supported and 2016-July 2017
27
28
                                  21
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25       Page 22 of 46 Page
                                     ID #:1773


 1                   Alleged Discriminatory Act                   Dates
 2   funded a non-black, non-Kenyan Male medical student to August/September
     conduct their research work in Kenya.                  2018-July/August
 3                                                          2019
 4   Dr. Toohey assumed that Faith Njoku and I, the only two September/October
 5   black students in a class of 104 medical students, were 2017
     planning ultrasound trips to Kenya and Nigerian in 2018
 6   because we both had Nigerian and Kenyan ancestry. She
 7   asked that we be excluded from meetings based on our race
     and country of origin even though we were not participating
 8   in these events.
 9
10   They brought a lawyer to my P&H hearing while I was going December 2019
11   to have family members present. The school had not brought
     lawyers to other nonblack medical students’ hearing if they
12   did not have their own lawyers present. This is also against
13   school policy.

14
     In an all Asian team during the internal medicine rotation, Dr. March- June 2021
15   Nguyen made multiple racial comments about the team
16   looking young because of “our good Asian genes” and
     continued to state that “I am also Asian” during a patient
17   encounter. Dr. Nguyen later tried to prove to me that she is not
18   racist because her sister/brother is married to a Kenyan and
     showed me photos during rounds. In addition, she asked me
19
     to change my mask (no one else in the team was asked to
20   change their masks).
21   She was also asking me to evaluate her in the middle of the
     rotation (against policy), a situation that isolated and created
22   a toxic learning environment for me, the only black student in
23   the entire team.
24   I was severely punished for making a minor grammatical error March- June 2021
     while my colleague (Asian in an all Asian team) who copied
25   and pasted patient’s information into another patient’s
26   discharge summary was not punished. I was the only black
     student in the entire team.
27
28
                                  22
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25     Page 23 of 46 Page
                                      ID #:1774


 1                     Alleged Discriminatory Act                            Dates
 2    Refused to interview the only black woman (Kelley Butler) August 2020 –
      who travelled to Kenya with me and instead only interviewed January 2021
 3    the two Asian medical students. The rest of the students had
 4    graduated despite providing him with the list of medical
      students who travelled to Kenya with me.
 5
      Created a toxic environment for me during my graduation by May 2023
 6    providing me with a handwritten yellow card during my
 7    graduation ceremony while everyone received a
      professionally typed white card. My graduation gown was
 8    also from 2022 while everyone received a 2023 graduation
 9    gown.
10    Stated that “I should consider going back to my country” if it January, February,
      was difficult when I requested to keep my on-campus housing. March, April 2019
11
12
           Pursuant to Local Rule 56-4, the Plaintiff includes the additional material
13
     facts below to comply with the requirement that all supporting evidence must be set
14
     forth in this statement of disputed facts.
15
                   PLAINTIFF’S ADDITIONAL DISPUTES OF FACTS
16
     Opposing Party’s additional
17
     disputed facts                               Moving Party’s Response
18
      1. One of the Black students in
19
      Plaintiff’s Class, Faith Njoku, did not
20
      complete medical school due in part to
21
      the extreme isolation that she felt and
22
      the hostility that she experienced from
23
      Dean Julianne Toohey (Butler Dep. P.
24
      86:21-23).
25
      2. Faith Njoku confided to the Plaintiff
26
      that Dean Toohey was treating her
27
      differently than the other non-Black
28
                                  23
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 24 of 46 Page
                                     ID #:1775


 1   students (Muthoka Dep. Vol. I, 160:14-
 2   25; 161:1-12).
 3   3. The Plaintiff’s encounter with the
 4   racially hostile environment began
 5   when Associate Dean Toohey met with
 6   her to inform her that she needed to
 7   change her natural hairstyle to straight
 8   hair because natural hair was
 9   unprofessional (Interrog. Resp.# 5).
10
11   4. The Plaintiff is a Black person who
12   was born in the country of Kenya. Dean
13   Julianne Toohey was a Latina female
14   (Butler Dep. P. 52, 18, 19).
15
16      5. Dean Toohey created a hostile
17   environment for Black medical students
18   at UCI. She demonstrated an animus
19   toward Black medical students in
20   different ways. Sometimes, the bias
21   against Black students manifested with
22   vague, nondescript accusations of Black
23   students being unprofessional. Other
24   times it manifested in more tangible
25   ways, such as criticizing Black student
26   support activities or Dean Toohey
27   refusing to support or find funding for
28
                                  24
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 25 of 46 Page
                                     ID #:1776


 1   research projects that Black students
 2   were spearheading. (Interrog. Resp.5;
 3   Muthoka Decl. at ¶2).
 4
 5      6. Dean Toohey upheld standards of
 6   “professionalism” that were proximal to
 7   whiteness, such as how Black students
 8   wore their hair compared to White
 9   students or how they articulated during
10   rounds (Butler Dep. P. 53:111-14, 54:1-
11   9, 20-22).
12
13      7. Dr. Kelley Butler met the Plaintiff
14   during her first year of Medical School
15   at UCI, which was the 2015/2016
16   school year (Id. at 15:8-25).
17
18      8. Dr. Kelley Butler was enrolled at
19      UCI at the same time the Plaintiff
20      was enrolled there. She identifies as
21      a Black female. Shortly after
22      enrolling she was confronted by
23      Dean Julianne Toohey about the
24      style of her hair. She claimed that
25      her hair was unprofessional (Id. at
26      42:11-20).
27
28
                                  25
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 26 of 46 Page
                                      ID #:1777


 1      9. Butler recalled that Dean Toohey
 2   generally treated Black students less
 3   favorably than other students, especially
 4   Latino/Latina students. The Plaintiff
 5   and Dr. Butler were members of a
 6   student group named SNMA. SNMA
 7   stands for the Student National Medical
 8   Association (Id. at 40:22-25; 41:1-2).
 9
10      10. The SMNA was founded to
11   support Black medical students who
12   were traditionally underrepresented in
13   medical schools (Id. at 88:2-20). Later,
14   the organization expanded its mission to
15   include all historically underrepresented
16   populations, such as indigenous people
17   and Asian Pacific Islanders. (Id).
18
19      11. Dean Julianne Toohey did not
20   have high regard for the SNMA. She
21   believed that the Black students’
22   participation in the organization was a
23   distraction to their studies (Id. at 44:2-
24   10).
25
26      12. By contrast, Dean Toohey gave
27   unwavering support to the LSMA.
28
                                  26
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 27 of 46 Page
                                     ID #:1778


 1   LSMA is an acronym for Latin Students
 2   Medical Association. The group was
 3   founded to provide support to Latin
 4   medical students (Id. at 51:19-24).
 5
 6      13. When SNMA wanted to hold a
 7   function at a facility on campus, such as
 8   the MedEd building, it was always a
 9   problem to obtain authorization. (Butler
10   Depo. At 89:15-24). However,
11   whenever LSMA attempted to use the
12   same facilities, it was never a problem
13   (Id. at 52:11-14). The only time SNMA
14   did not encounter a problem using the
15   University’s facilities is when they were
16   partnered with LSMA (Id).
17
18      14. Dr. Toohey found money to
19   support LSMA events, but she did not
20   assist SNMA in the same manner (Id).
21
22      15. Defendant refused to fund
23   Plaintiff’s ultrasound trip to Kenya,
24   ostensibly because there was a travel
25   advisory connected to that nation. Still,
26   it funded a similar trip to Kenya when a
27   non-Black student sought IRB and
28
                                  27
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 28 of 46 Page
                                     ID #:1779


 1   financial support. At the time that the
 2   non-Black student traveled to Kenya,
 3   there was a travel advisory in effect as
 4   well (Interrog. 15; Muthoka Dep. Vol. I,
 5   98:4-10; 106:105:25; 106:1-25; 107:1-
 6   5); Muthoka Decl. at Ex. N, Page 29,
 7   Witness 22).
 8
 9      16. UCI had a long-standing practice
10   of funding student trips worldwide to
11   conduct research (Butler Dep. at 21:18-
12   25; 22:1-7). The Plaintiff was seeking
13   financial support for a four-week trip.
14   The university refused to provide the
15   requested financial support (Id. at 32:1-
16   25).
17
18      17. The university funded an
19   ultrasound trip to Panama that involved
20   students. The trip lasted for the entire
21   summer. The university covered most
22   of the costs involved. Dean Toohey did
23   not offer the same pushback for the
24   Panama trip as she did for the Kenyan
25   trip (Id. at 39:23-25; 78:10-16).
26
27
28
                                  28
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 29 of 46 Page
                                      ID #:1780


 1      18. The ultrasound trip to Kenya
 2   involved six students and the
 3   participants were required to fundraise
 4   for essentially all related expenses. The
 5   Plaintiff obtained money from her
 6   church. The group also set up a
 7   GoFundMe account to raise money as
 8   well (Id. at 23:18-21).
 9      19. Dr. Butler accompanied Plaintiff
10   on the Kenyan ultrasound trip (Butler
11   Dep. 19:5-15; 24:1-4).
12      20. One of the push backs Plaintiff
13   received regarding the trip to Kenya is
14   that it wasn’t an established trip.
15   However, the university funded an
16   ultrasound-related student trip to
17   Switzerland. The trip was the first of its
18   kind. There were no established
19   contacts with a medical clinic there
20   before this student-coordinated trip.
21   Generally, the university favored trips
22   to Europe more than trips to other
23   places. (Id. 84:15-24).
24
25      21. The University funded the
26   ultrasound trip to Kenya the very next
27   year that was coordinated by, Michael
28
                                  29
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE        Document 73-2 Filed 04/03/25   Page 30 of 46 Page
                                       ID #:1781


 1   Lobasso, a non-Black/Non-African.
 2   There was a travel advisory during that
 3   time period as well (Interrog. 5; RJN at
 4   ¶3).
 5
 6      22. The University funded the
 7   ultrasound trip to Kenya the very next
 8   year (2019) that was coordinated by,
 9   Michael Lobasso, a non-Black/Non-
10   African. There was a travel advisory
11   during that time period as well
12   (Interrog. 5).
13
14      23. Associate Dean Toohey also told
15   the Plaintiff that she should consider
16   going back to Africa. (Muthoka Decl.
17   at ¶25).
18
19     24. She never made such a comment
20          to other non-Black or non-African
21          students (Interrog. 5).
22      25. Dr. Butler was aware of an
23   incident wherein Dean Toohey
24   suggested that the Plaintiff should go
25   back to Kenya to practice medicine
26   after she graduated. Dr. Butler stated
27   that she was not aware of Dean Toohey
28
                                  30
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 31 of 46 Page
                                      ID #:1782


 1   making a similar request of Mexican
 2   medical students enrolled at UCI
 3   (Interrog. Resp. #15, Butler Dep.
 4   71:25; 72:1-9).
 5
 6      26. After enduring a hostile
 7   environment for an extended period, the
 8   Plaintiff decided to file an internal
 9   complaint of discrimination with the
10   Office of Equality Opportunity and
11   Diversity, OEOD. This office
12   investigates claims of harassment and
13   discrimination within the UCI system.
14   Muthoka Decl. at Ex. M).
15
16      27. The Plaintiff’s last experience at
17   UCI was tainted by an intentional
18   slight. The Plaintiff was provided a
19   handwritten yellow card during her
20   graduation ceremony. However, the
21   non-Black graduates received a
22   professionally typed white card. She
23   was also given a 2022 graduation gown
24   that differed in appearance from the
25   gown the other 2023 graduates were
26   wearing (Interrog. 5).
27
28
                                  31
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 32 of 46 Page
                                     ID #:1783


 1      28. The Plaintiff was a qualified
 2   student with two separate disabilities.
 3   She suffers from testing anxiety and a
 4   Neurodevelopmental disorder related to
 5   visual processing. (Interrog. Resp. # 10;
 6   Muthoka Dep., Vol. I, 120:14-18;
 7   121:5-7).
 8
 9      29. The school policy and the law
10   required UCI to offer reasonable
11   accommodations to students. UCI
12   Disability Service Center is responsible
13   for, and has undertaken, assisting
14   students in assembling the requisite
15   documentation and registering as
16   students with disabilities who require
17   accommodation. (Muthoka Decl. at ¶¶6,
18   8, 11).
19
20      30. The Plaintiff registered with the
21   Center early in her medical school
22   career. She was designated as a person
23   with a disability and ultimately awarded
24   accommodations. (Muthoka Decl. at
25   ¶¶3-5).
26      31. One of the main
27   accommodations she received was time
28
                                  32
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 33 of 46 Page
                                     ID #:1784


 1   and a half to take exams, but this
 2   accommodation was not offered
 3   initially. Id.
 4
 5      32. Whenever her accommodations
 6   were honored, she performed quite well
 7   on exams. Often, she set the curve in
 8   some of her classes, scoring 80 to 90%
 9   on exams when the school passing score
10   was 60-70%. (Butler Dep. 58:20-23).
11
12      33. Dean Julianne Toohey did not
13   believe that the Plaintiff deserved the
14   designation of a student with a
15   disability. She insisted the only issue
16   Plaintiff had was a language issue
17   because English was her second
18   language (Interrog. Resp. # 15;
19   Muthoka Decl. at ¶¶7, 10, 16, 17, Ex.
20   G).
21
22      34. The Plaintiff repeatedly told
23   Dean Toohey that this was not the case
24   and showed her the documentation that
25   established her disability. (Muthoka
26   Decl. at ¶¶9, 17).
27
28
                                  33
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 34 of 46 Page
                                     ID #:1785


 1      35. None of this evidence altered
 2   Dean Toohey’s unreasonable position.
 3   She continued to insist that Plaintiff
 4   merely had a language issue, which was
 5   not a disability. (Muthoka Dep. Vol. I,
 6   123:23-25; 124:1-25; 125:1-25;
 7   Muthoka Decl. at ¶¶7, 10, 16, Ex. G).
 8
 9      36. Dean Toohey’s insistence that
10   the Plaintiff did not have a disability
11   created confusion within the Disability
12   Service Center. (Muthoka Decl. at
13   ¶¶12-16).
14      37. This confusion interfered with
15   the Plaintiff receiving the benefit of
16   accommodations. Once a student was
17   registered as a person with a disability,
18   he/she was supposed to receive the
19   accommodation each time that he/she
20   took exams (Interrog. Resp. 13;
21   Muthoka Dep., Vol. I, 149:11-25).
22
23      38. The Plaintiff’s first year at UCI
24   was the 2016/2017 school year.
25   Because of Dean Toohey’s interference,
26   the Plaintiff did not receive a
27
28
                                  34
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 35 of 46 Page
                                     ID #:1786


 1   psychological evaluation until 2019.
 2   (Muthoka Decl. at ¶¶12-18).
 3      39. Once the evaluation was done,
 4   she received time and a half due to her
 5   test anxiety diagnosis (Muthoka Dep.,
 6   Vol. I, 150:1-25; 151:1-25).
 7
 8      40. UCI had a regular practice of
 9   helping students with disabilities
10   arrange for testing accommodations
11   with the NBME whenever they sat for
12   Step 1 or Step 2 of USMLE. (Muthoka
13   Decl. at ¶¶6, 8).
14      41. The Plaintiff reached out to
15   Disability Service Center before sitting
16   for the Step 1 Exam, to help her arrange
17   accommodations for the test. However,
18   the Defendant failed to arrange for the
19   appropriate support for Plaintiff’s
20   requested accommodations as a result
21   of misinformation by Dr. Toohey.
22   (Muthoka Decl. at ¶¶16, 17, 18, 21).
23      42. Resultantly, she failed the Step 1
24   Examination. After she failed the Step 1
25   Examination a second time, after Dr.
26   Toohey insisted she had language
27   issues, Plaintiff was placed on leave and
28
                                  35
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 36 of 46 Page
                                      ID #:1787


 1   not permitted to enroll in new classes
 2   until she passed the exam. (Muthoka
 3   Decl. at ¶¶16-18)
 4      43. The Defendant permitted other
 5   students to move forward in their
 6   studies who had not completed the step
 7   1 exam, because the national testing
 8   facilities were closed due to Covid-19
 9   pandemic (Muthoka Dep. Vol. I,
10   218:13-25).
11
12      44. At that time and several times
13   after, Plaintiff encountered skepticism
14   and resistance from Dean Toohey about
15   whether she needed accommodation to
16   take the test (Interrog. 13).
17      45. Dean Toohey was untruthful
18   with Plaintiff about contacting the
19   NBME regarding her accommodations
20   for Plaintiff. She falsely stated that
21   NBME told her the Plaintiff’s request
22   for accommodations was denied
23   because it did not view language issues
24   as a disability (Interrog. Resp. 13;
25   Muthoka Dep., Vol. I, 165:4-23; 167:1-
26   13; Muthoka Decl. at ¶16).
27
28
                                  36
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 37 of 46 Page
                                     ID #:1788


 1   46. On January 19, 2019, Dr. Toohey
 2   advised Plaintiff that she should
 3   consider going back to her country
 4   since she felt it would be impossible for
 5   Plaintiff to get into a US medical
 6   residency program. (Muthoka decl. at
 7   ¶25).
 8
 9   47. The earliest Plaintiff could be put on
10   inquiry notice that disability
11   discrimination might be at issue was the
12   email from Dr. Toohey on June 21,
13   2018 stating that Plaintiff erroneously
14   had a “language issue.” (Muthoka Decl.
15   at ¶16).
16   48. At the time, Plaintiff did not know,
17   as she subsequently discovered in
18   October of 2019, that Dr. Toohey was
19   lying about contacting NBME.
20   (Muthoka Decl. at ¶27).
21   49. However, she did take note of the
22   ongoing reference to a “language issue”
23   phrasing but at the time thought it was
24   perhaps a mistake by Dr. Toohey.
25   (Muthoka Decl. at ¶7).
26   50. On May 26, 2020, Plaintiff
27   submitted a complaint to the UCI Office
28
                                  37
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 38 of 46 Page
                                     ID #:1789


 1   of Equal Opportunity and Diversity
 2   (OEOD) regarding the race/national
 3   origin and disability discrimination that
 4   she had been subjected to as of that
 5   time. (Muthoka Decl. at ¶28, Ex. M).
 6   51. On January 27, 2021, OEOD issued
 7   its final report on my complaint. A true
 8   and correct copy of the report.
 9   (Muthoka Decl. at ¶29, Ex. N).
10   52. On January 30, 2021, Plaintiff
11   requested to appeal the findings.
12   (Muthoka Decl. at ¶30, Ex. O).
13   53. On February 3, 2021, Plaintiff
14   received a response that no appeal was
15   available. (Muthoka Decl. at ¶31, Ex.
16   P).
17   54. On July 21, 2021, Plaintiff filed a
18   complaint with the United States
19   Department of Education, Office of
20   Civil Rights. (Muthoka Decl. at ¶32,
21   Ex. Q); Request for Judicial Notice at
22   ¶1.
23   55. The complaint was dismissed on
24   September 14, 2021 as purportedly
25   untimely. (Muthoka Decl. at ¶¶33-34).
26
27
28
                                  38
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 39 of 46 Page
                                     ID #:1790


 1   56. On October 26, 2021, Plaintiff’s
 2   attorney filed an appeal of the dismissal
 3   with OCR. (Muthoka Decl. at ¶¶34, Ex.
 4   R; Request for Judicial Notice at ¶2).
 5   57. No decision has been received from
 6   OCR on the appeal to date. (Muthoka
 7   Decl. at ¶35).
 8   58. Plaintiff had no knowledge that Dr.
 9   Toohey was on in a condition that she
10   might pass away. UCI never provided
11   notice to Plaintiff that Dr. Toohey had
12   passed away. Plaintiff was no longer a
13   student at UCI at the time Dr. Toohey
14   passed away.
15   (Muthoka Decl. at ¶36).
16   59. Dr. Toohey repeatedly emailed
17   Plaintiff to meet with her, requiring
18   multiple meetings that significantly
19   detracted her from surgery rotation
20   studies for the shelf examination and
21   prep for retaking Step 1 of the USMLE.
22   (Muthoka Decl. at ¶17).
23   60. Plaintiff was inundated with work
24   for the surgery rotation and Dr. Toohey
25   continued to insist that she had
26   language issues – even requiring that
27   she pay $5,225 for an unwarranted
28
                                  39
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 40 of 46 Page
                                      ID #:1791


 1   program even though Plaintiff kept
 2   pushing back on that issue.
 3   (Muthoka Decl. at ¶17).
 4   61. The National Board of Medical
 5   Examiners has no record of contact by
 6   any of Defendant’s employees
 7   regarding Plaintiff.
 8   (Convery Declaration).
 9    62. In large part as a result of Dr.
10   Toohey’s email stating the decision
11   from NBME was final, Plaintiff did not
12   further press the accommodations issue
13   at that time and took the USMLE Step 1
14   in October 2018 without
15   accommodations and failed for a second
16   time. This failure had cascading results
17   for Plaintiff, nearly led her to be
18   dismissed from the program, caused her
19   to lose my housing and had other
20   significant impacts. It also caused
21   Plaintiff’s academic record to be less
22   competitive than her peers and denied
23   her opportunities to more lucrative
24   areas of medical practice like
25   anesthesiology.
26   (Muthoka Decl. at ¶¶17-18).
27
28
                                  40
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 41 of 46 Page
                                      ID #:1792


 1   63. Plaintiff suffered economic
 2   damages as a result of the delays in her
 3   schooling, the Step 1 test failures and
 4   the lowered score on the Step 2CK.
 5   Plaintiff sent out multiple applications
 6   for residencies that received no
 7   response. Some of those were for
 8   anesthesia residencies that pay a higher
 9   salary than the position Plaintiff
10   accepted. Plaintiff has lost earning
11   ability as a result. Plaintiff also had to
12   pay money out of pocket as a result of
13   the discriminatory treatment, including
14   $5225 for a language program that
15   Plaintiff did not require. She also had to
16   pay rent to live to attend the program.
17   (Muthoka Decl. at ¶38).
18   64. On April 9, 2023, while Plaintiff
19   was taking the first day of the two-day
20   Step 2CK, she received an intimidating
21   email from Dr. Wiechmann.
22   (Muthoka Decl. at ¶37, Ex S).
23   65. This email caused Plaintiff
24   additional stress and anxiety and she
25   received a lower score on the test than
26   she had been receiving in her practice
27   examinations for the Step 2CK. This
28
                                  41
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 42 of 46 Page
                                     ID #:1793


 1   lower score impacted which residency
 2   programs she was competitive at and
 3   thus affected me economically.
 4   (Muthoka Decl. at ¶37).
 5   66. The email was close in proximity to
 6   Plaintiff’s advocacy that she was
 7   entitled to extended time to take the
 8   Step 2 CK exam because delays were
 9   caused in part by the actions of UCI.
10   (Muthoka Decl. at ¶¶40, 41).
11   67. Defendant refused to recalculate my
12   time to take the Step 2CK and I was
13   forced to take it early with no dedicated
14   study time after my classes ended as
15   other students had the opportunity to
16   do. As a result, I was put in unequal
17   circumstances and failed the Step 2 CK.
18   (Muthoka Decl. at ¶42).
19   68. Plaintiff then had to continue to
20   advocate for her accommodations to be
21   met as late as January 2023.
22
23   (Muthoka Decl. at ¶43, Ex. W).
24   69. One March 29, 2023, mere days
25   before Dr. Wiechmann sent Plaintiff the
26   April 3, 2023 email, Dr. Osborn emails
27   Dr. Wiechmann with an update on
28
                                  42
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25   Page 43 of 46 Page
                                     ID #:1794


 1   Plaintiff and states “Jackline Muthoka –
 2   Has Step 2 scheduled for 4/3/23 – not
 3   sure if she will walk this year?”
 4   (Jambeck Decl. at ¶4).
 5   70. According to the school policy,
 6   “any student who fails Step 1
 7   examination a second time will be
 8   immediately removed from the third-
 9   year curriculum and placed on a
10   specially tailored board preparation plan
11   as determined by the Office of Student
12   Affairs.”
13   (Muthoka Decl. at ¶19).
14   71. In late 2018, Plaintiff learned for the
15   first time that she should have received
16   and submitted a psychological
17   examination to NBME in order to have
18   a good chance of obtaining an
19   accommodation. No one at UCI had
20   advised her of that previously even
21   though she was told my application
22   should go through UCI.
23   (Muthoka Decl. at ¶20).
24   72. In December 2018 after receiving
25   Dr. Selva-Rodriguez's email, Plaintiff
26   emailed Ms. Henderson saying: “I was
27   wondering what the process is to get
28
                                  43
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE       Document 73-2 Filed 04/03/25   Page 44 of 46 Page
                                      ID #:1795


 1   examined regarding my exam issues.
 2   Do you know how long the process
 3   takes? How much does it cost? When
 4   can I get it done...?” Ms. Henderson
 5   replied to the Plaintiff’s email saying,
 6   “...I believe you are referring to a
 7   comprehensive psychoeducational
 8   evaluation, but I want to be clear” on
 9           another email later that day, Ms.
10    Henderson emailed Plaintiff saying,
11    “...
12   You inquired about a comprehensive
13   psychoeducational evaluation. I have
14   included Dr. Toohey on this email per
15   your request. As mentioned to you over
16   the phone, DSC does not conduct
17   assessments. There are two local offices
18   that many students go to, and we have
19   had solid reports from.”
20   (Muthoka Decl. at ¶22).
21   73. This email indicates that Ms.
22   Henderson knew the Plaintiff needed a
23   psychoeducational evaluation, knew
24   where she could send her for
25   assessment, and had never brought this
26   up for more than a year. According to
27   the School of Medicine policy that
28
                                  44
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE      Document 73-2 Filed 04/03/25    Page 45 of 46 Page
                                     ID #:1796


 1   applies to students with disabilities and
 2   seeking accommodations, it states
 3   “...DSC offers initial disability
 4   screenings to students who suspect their
 5   difficulty in the academic setting may
 6   be related to a disabling diagnosis...”
 7   (Muthoka Decl. at ¶23).
 8   74. On April 25, 2019, Dr. Toohey sent
 9   an email referencing my language
10   issues to UCI housing.
11   (Muthoka Decl. at ¶61).
12   75. UCI’s policy on supporting students
13   traveling to foreign countries does not
14   did not allow for the 2019 trip by the
15   non-black students to Kenya because
16   Kenya remaining on a travel warning
17   list.
18   (Jambeck Decl. at ¶5).
19
     Date: March 27, 2025                        THE GIRLEY LAW FIRM, PA
20
21                                                   /s/ Jerry Girley
22                                               Jerry Girley
                                                 Attorney for Plaintiff
23                                               JACKLINE MUTHOKA
24
25
26
27
28
                                  45
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
Case 8:23-cv-01333-FWS-JDE   Document 73-2 Filed 04/03/25   Page 46 of 46 Page
                                  ID #:1797


 1   Date: March 27, 2025                    LEIGH LAW GROUP, P.C.
 2                                            /s/ Jay T. Jambeck
 3                                           Jay T. Jambeck
                                             Attorney for Plaintiff
 4                                           JACKLINE MUTHOKA
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                  46
       PLAINTIFF’S STATEMENT OF DISPUTED FACTS IN OPPOSITION TO
                    MOTION FOR SUMMARY JUDGMENT
